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        December 5, 2024                                              Loly Garcia Tor
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        Hon. Jamel K. Semper, U.S.D.J.
        United States District Court for the District of New Jersey
        Martin Luther King Building & U.S. Courthouse
        50 Walnut Street
        Newark, NJ 07101

        Re:     Ylitalo v. Automatic Data Processing, Inc., et al.
                Case No. 2:24-cv-7635-JKS-LDW

        Dear Judge Semper:

        I represent Defendant American Century Investment Services, Inc. (“American Century”) in the
        above-referenced action. On behalf of American Century and defendants Automatic Data
        Processing, Inc. and ADP, Inc. (collectively, the “Defendants”), we write to update the Court
        regarding our letter dated November 27, 2024, and the accompanying Declaration of Margaret
        Murphy, which we provisionally submitted under seal.

        Defendants submitted the above-referenced letter and Declaration on the assumption that the
        Plaintiff in this action and his counsel might regard the rate of return on Mr. Ylitalo’s IRA account
        from the date of the initial contribution to that account through November 22, 2024 as confidential
        information. After several inquiries, we were informed today by Plaintiff’s counsel, Mr. Federman,
        that “[w]e do not believe the information should or qualifies to be sealed.” Consequently,
        Defendants withdraw their request that their November 27, 2024 letter and the accompanying
        Declaration of Margaret Murphy be filed under seal.

        Respectfully submitted,

        /s/ Loly Garcia Tor

        Loly Garcia Tor


        cc:     All counsel of record [via ECF]




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